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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



      In Re: AUTOMOTIVE PARTS                               Master File No. 12-md-02311
      ANTITRUST LITIGATION
      In re: All Parts
                                                            Hon. Sean F. Cox



      THIS DOCUMENT RELATES TO:
      All Cases



           MOTION OF WITHDRAWAL OF ATTORNEY MOLLY K. MCGINLEY

          PLEASE TAKE NOTICE that Molly K. McGinley is no longer affiliated with the law firm

  K&L Gates LLP, which represents Defendants Chiyoda Manufacturing Corporation and Chiyoda

  USA Corporation. I respectfully request that the Clerk of this Court remove me from the docket in

  the action 12-md-02311.




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                                     Respectfully submitted,

                                     HONIGMAN LLP


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  Dated: August 9, 2022




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                           CERTIFICATE OF SERVICE

  I hereby certify that on August 9, 2022, I electronically filed the above paper

  with the Clerk of the Court using the ECF system, which provides notice to all

  parties and counsel of record.



                                         Respectfully submitted,

                                         HONIGMAN LLP


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